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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



AARON OLAF ORTEGA GONZALEZ                                         Case No.: 6:25−cv−00622−MC
   Plaintiff,

v.

KRISTI NOEM, et al.
   Defendant.


                                    Civil Case Assignment Order

1.    Presiding Judge: The above referenced case has been filed in the Eugene Division of the U.S.
District Court for the District of Oregon and assigned to:




2.    Status or Scheduling Questions: Questions about the status or scheduling of this case should
be directed to the judge's courtroom deputy clerk at:

          Telephone: 541−431−4105
          Email: mcshane_crd@ord.uscourts.gov
3.    Filing or Docket Entry Questions: For questions about filings or docket entries in this case
call 541−431−4100 to speak to the case administrator.

4.   Place of Filing: Any paper filings must be submitted to the Clerk of Court, Wayne L. Morse
Courthouse, 405 East Eighth Ave., Eugene, OR, 97401. (See LR 3−1, LR 5−5.)

5.    District Court Website: Information about local rules of practice, CM/ECF electronic filing
requirements, responsibility to redact personal identifiers from filings, and other related information
can be found on the Court's website at ord.uscourts.gov.

6.   Free Legal Assistance for Pro Se Litigants: Litigants proceeding pro se (without a lawyer)
may qualify for free legal assistance from the Oregon Chapter of the Federal Bar Association's Free
Federal Law Clinic. To see if you qualify, apply at fedlawclinic.com.

7.     Consent to a Magistrate Judge: In accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73,
all United States Magistrate Judges in the District of Oregon are certified to exercise civil jurisdiction
in assigned cases and, with the consent of the parties, enter final orders on dispositive motions,
conduct trial, and enter final judgment, which may be appealed directly to the Ninth Circuit Court of
Appeals.

     Parties are encouraged to consent to the jurisdiction of a Magistrate Judge by signing and filing
the (attached) Consent to Jurisdiction by a United States Magistrate Judge and Designation of the
Normal Appeal Route. There will be no adverse consequences if a party elects not to consent to a
Magistrate Judge. A Magistrate Judge, however, may be able to resolve a case earlier as they are
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primarily assigned only to civil cases.

    Additional information about United States Magistrate Judges in the District of Oregon is
available on the Court's website.

DATED: April 17, 2025                              MELISSA AUBIN
                                                   Clerk of Court

                                               by: /s/ L. Errecart
                                                   L. Errecart, Deputy Clerk
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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



AARON OLAF ORTEGA GONZALEZ                                        Case No.: 6:25−cv−00622−MC
   Plaintiff,

v.

KRISTI NOEM, et al.
   Defendant.


                             Discovery and Pretrial Scheduling Order

To facilitate discovery and the effective management of this case, the Court orders that:

1.    Discovery and Pretrial Deadlines: Unless otherwise ordered by the Court, the parties shall,

      a.    within 120 days of this Order:
            i.   File all pleadings pursuant to Fed. R. Civ. P. 7(a) and 15;
            ii. Join all claims, remedies, and parties pursuant to Fed. R. Civ. P. 18 and 19;
            iii. File all pretrial, discovery, and dispositive motions;
            iv. Complete all discovery; and
            v. Confer as to Alternate Dispute Resolution pursuant to LR 16−4(c).

      b.    within 150 days of this Order:
            i.   File a Joint ADR Report pursuant to LR 16−4(d);
            ii. File a Proposed Pretrial Order pursuant to LR 16−5.

2.     Corporate Disclosure Statement: In accordance with Fed. R. Civ. P. 7.1 and LR 7.1−1, any
non−governmental corporate party must file a corporate disclosure statement concurrently with its
first appearance (See also LR 83−9).
3.    Initial Conference of Counsel for Discovery Planning:

     a.     Except in cases exempted under Fed. R. Civ. P. 26(a)(1)(B), upon learning the identity of
counsel for Defendant(s), counsel for the Plaintiff(s) must initiate communications with counsel for
Defendant(s).

       b.    All counsel must then confer as required by Fed. R. Civ. P. 26(f) within thirty (30) days
after a defendant files a responsive pleading or a motion under Fed. R. Civ. P. 12. (See LR 26−1.)

      c.    Counsel should also discuss their client's positions regarding:

             i.    Consent to a Magistrate Judge; and
             ii. Alternate Dispute Resolution options. ADR options include judicial settlement
conferences or Court−sponsored mediation with highly qualified lawyer−mediators. Court−sponsored
mediators agree to conduct mediation without cost to the Court or parties for four (4) hours, exclusive
of preparation and travel time to and from the agreed location for mediation. Parties are encouraged to
visit the Court's website for additional ADR information, including mediator biographies,
subject−matter expertise, and contact information.
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      d.    If counsel for all of the parties agree to forgo the initial disclosures required by Fed. R.
Civ. P. 26(a)(1), they shall file with the Court the Fed. R. Civ. P. 26(a) Discovery Agreement form
issued with this order (See LR 26−2). Whether or not the parties agree to forgo the initial disclosures,
they may seek discovery once the initial conference of counsel for discovery planning contemplated
by Fed. R. Civ. P. 26(f) has occurred. (See LR 26−1.)

4.    Rule 16 Court Conference for Scheduling and Planning: Counsel for Plaintiff(s) and for
Defendant(s) must, during or promptly after the conference of counsel referred to in section 3 above,
contact the assigned judge's courtroom deputy clerk to schedule a Rule 16 Conference for scheduling
and planning. (See LR 16−2.)

At the Rule 16 Conference, the parties must be prepared to discuss discovery, whether there is consent
to a Magistrate Judge, and any scheduling or other issues, including any requested modifications to
the initial scheduling order set forth in section 1 above, and possible submission of trial exhibits
electronically (See LR 5−7(b)).

5.    Service of this Order: Counsel for the Plaintiff (the "filing party") must serve this order and all
attachments upon all other parties to the action. (In cases removed to this Court, the removing
defendant is considered the "filing party.") (See LR 3−5.) A pro se filing party is required to serve this
order and all attachments upon all other parties to the action.

DATED: April 17, 2025                                 MELISSA AUBIN
                                                      Clerk of Court

                                                 by: /s/ L. Errecart
                                                      L. Errecart, Deputy Clerk
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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON



AARON OLAF ORTEGA GONZALEZ                                      Case No.: 6:25−cv−00622−MC
   Plaintiff,

v.

KRISTI NOEM, et al.
   Defendant.


                           Fed. R. Civ. P. 26(a)(1) Discovery Agreement

      Pursuant to LR 26−2, I state that the parties who have been served and who are not in default
have agreed to forgo the disclosures required by Fed. R. Civ. P. 26(a)(1).

DATED:


                   Signature:

          Name and OSB ID:

             E−mail Address:

                  Firm Name:

            Mailing Address:

              City, State, Zip:

        Parties Represented:
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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



AARON OLAF ORTEGA GONZALEZ                                        Case No.: 6:25−cv−00622−MC
   Plaintiff,

v.

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   Defendant.


                           Consent to Jurisdiction by a Magistrate Judge
                           and Designation of the Normal Appeal Route

      Pursuant to Fed. R. Civ. P 73(b), as counsel for the party (parties) identified below, I consent to
have a United States Magistrate Judge conduct any and all proceedings in this case, including entry of
orders on dispositive motions, trial, and entry of final judgment. I understand that withholding consent
will not result in any adverse consequences. Pursuant to Fed. R. Civ. P. 73(c), I agree that an appeal
from a judgment entered at a Magistrate Judge's direction may be taken to the court of appeals as
would any other appeal from a district court judgment.

DATED:


                    Signature:

          Name and OSB ID:

             E−mail Address:

                  Firm Name:

             Mailing Address:

              City, State, Zip:

         Parties Represented:
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                                         U.S. District Court − Oregon
                                   Civil Case Management Time Schedules

                   Event or Requirement                    Time Frame                           Comment
 Local Rule
                Discovery and Pretrial           Issued by the Clerk's Office at      Required to be served on all
LR 16−1(d)      Scheduling Order (with           new civil case initiation, along     parties by the filing party (See
                attachments)                     with the summonses                   LR 3−5)
                                                 Within 30 days of a defendant
                Initial Conference for
LR 26−1                                          filing a responsive pleading or a Held between the parties
                Discovery Planning               motion under Fed. R. Civ. P. 12
                                                 Scheduled by the assigned            Affirmative duty on all
                                                 judge after the required LR          counsel to contact the
LR 16−2         Rule 16 Conference               26−1 initial discovery planning      assigned judge's courtroom
                                                 conference                           deputy (See LR 16−2(a))
                                                                                      Parties must confer with other
                                                 Within 120 days from the date
                ADR Conference                                                        attorneys and unrepresented
LR 16−4(c)                                       the Discovery and Pretrial
                Requirements                                                          parties to discuss ADR
                                                 Scheduling Order is issued           options
                                                 Within 120 days from the date        Required in cases assigned to
                Joint Status Report              the Discovery and Pretrial           Judge Jones
                                                 Scheduling Order is issued
                                                 Unless otherwise ordered by the Discovery deadlines are set
                                                 Court, within 120 days from the forth in the Discovery and
LR 16−2(e)      Completion of Discovery          date the Discovery and Pretrial Pretrial Scheduling Order
                                                 Scheduling Order is issued
                                                 Within 150 days from the date        The parties must file a Joint
LR 16−4(d)      Joint ADR Report                 the Discovery and Pretrial           ADR Report
                                                 Scheduling Order is issued
                                                 Unless otherwise modified            The Joint Proposed Pretrial
                                                 pursuant to LR 16−5(a), within       Order filing deadline is
LR 16−5         Joint Proposed Pretrial Order    150 days from the date the           established in the Discovery
                                                 Discovery and Pretrial               and Pretrial Scheduling Order
                                                 Scheduling Order is issued
                Notice to the Court that the                                          Plaintiff's attorney (or the pro
                                                 Within fourteen (14) days after
                Parties Are Unable to Select a                                        se plaintiff) is responsible for
LR                                               entry of a court order referring a
                Court−sponsored Mediator                                              notifying the assigned judge
16−4(f)(2)(B)                                    case for Court−sponsored
                from the Court's list of                                              who will then designate a
                                                 mediation
                mediators                                                             mediator
                                                 Not later than seven (7) days        Plaintiff's attorney (or the pro
LR 16−4(h)(1) Notification of Private ADR        after the conclusion of private      se plaintiff) is responsible for
              Results                            ADR proceedings                      notifying the court
                                                 Not later than seven (7) days        Court−sponsored mediator is
LR 16−4(h)(2) Report of Court−sponsored          following the conclusion of the      responsible for notifying the
              Mediator                           mediation if no settlement is        court
                                                 achieved
